    Case No. 1:20-cv-00742-DDD-KAS Document 1-5 filed 03/17/20 USDC Colorado pg 1 of 1
Fwd: David Icke                                                              EXHIBIT D

       Corey Goode
 CG    Fri, 05 Apr 2019 11:23:17 AM -0500

    To "IP Attorney" <valerie@yanaroslaw.com>,                                           ,


   Tags 
          TLS Learn more
Security 




Corey Goode
Sent from my iPhone

Begin forwarded message:


     From: Jay Weidner <jayweidner37@gmail.com>
     Date: April 5, 2019 at 6:21:45 AM HST
     To: Corey Goode <goodetech@yahoo.com>
     Subject: David Icke


     You think I would let a friend of mine get screwed and doxxed by you? Fuck you Corey. This is just
     beginning.


      Ha ha Ha haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa haHa
     haHa haHa haHa haHa ha
